                       IN THE UNITED STATES DISTRICT COURT
                           WESTERN DISTRICT OF MISSOURI
                              SOUTHWESTERN DIVISION

JILL KIDWELL,                                         )
                                                      )
                       Plaintiff,                     )
                                                      )
v.                                                    )       Case No. 19-5101-CV-SW-SRB
                                                      )
WAL-MART REAL ESTATE                                  )
BUSINESS TRUST,                                       )
                                                      )
                       Defendant.                     )

                                              ORDER

       Before the Court is Plaintiff’s Motion for Remand. (Doc. #11). Plaintiff Jill Kidwell

argues remand is required because the jurisdictional, amount-in-controversy threshold has not

been met as necessary to establish diversity jurisdiction. Plaintiff submitted an affidavit in

support of her argument attesting that she suffered less than $74,999.00 in damages. (Doc. #11-

2). In light of this affidavit, Defendant Wal-Mart, Inc. filed a stipulation as to remand, reserving

its right to file for removal in the future if Plaintiff’s claimed damages change.

       Accordingly, it is hereby ORDERED that Plaintiff’s Motion for Remand (Doc. #11) is

GRANTED. This case is remanded to the Associate Circuit Court of Jasper County, Missouri.


       IT IS SO ORDERED.

                                                      /s/ Stephen R. Bough
                                                      STEPHEN R. BOUGH
                                                      UNITED STATES DISTRICT JUDGE

Dated: January 15, 2020




          Case 3:19-cv-05101-SRB Document 13 Filed 01/15/20 Page 1 of 1
